                                Case 19-11500           Doc 105       Filed 09/11/20         Page 1 of 5
Entered: September 11th, 2020
Signed: September 10th, 2020

SO ORDERED




                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF MARYLAND
                                                Baltimore Division

         IN RE:                                                            *
                                                                           *
         JOSEPH G. GORSKI                                                  *        Case No.: 19-11500-DER
                                                                           *        Chapter 11
                    Debtor.                                                *
                                                                           *
         *****************************************

                       ORDER CONFIRMING CHAPTER 11 PLAN OF REORGANIZATION

                    Joseph Gorski, Debtor and Debtor-in-Possession (the “Debtor”), having filed his Second

         Amended Disclosure Statement (“Disclosure Statement”) [Docket No. 96] and Second Amended

         Chapter 11 Plan of Reorganization (the “Plan”) [Docket No. 97] dated June 30, 2020; and the

         Disclosure Statement having been approved and served upon holders of Claims1 and other parties

         in interest, together with the Plan and solicitation materials; and no objections to the Plan having

         been filed; and a hearing having been held on September 1, 2020 to consider confirmation of the

         Plan (the “Confirmation Hearing”), at which time all parties in interest were afforded an

         opportunity to be heard; and due notice of the Confirmation Hearing having been provided to

         holders of Claims and other parties in interest; and the Court having reviewed and considered the

         entire record of the Confirmation Hearing, including the Plan, Disclosure Statement, the

         Debtor’s Memorandum in Support of Confirmation of Plan [Docket No. 104], the proffer of


         1
             Unless otherwise defined herein, all capitalized terms shall have the meaning ascribed to them in the Plan.



                                                                     1
                 Case 19-11500       Doc 105     Filed 09/11/20     Page 2 of 5




testimony presented at the Confirmation Hearing; and upon the arguments of counsel at the

Confirmation Hearing; and after due deliberation and sufficient cause appearing therefore, it is,

by the United States Bankruptcy Court for the District of Maryland:

       ORDERED, that subject to the modifications and amendments contained in this Order,

the Plan and each of the Plan’s provisions are confirmed pursuant to section 1129 of the

Bankruptcy Code; and it is further

       ORDERED, that the modifications or amendments to the Plan set forth herein are

approved pursuant to section 1127(a) of the Bankruptcy Code, and do not require additional

disclosure or solicitation under Bankruptcy Rule 3019:

       The Plan shall be modified as follows:

               Article I (Definitions) of the Plan shall be modified as follows:

              w.       Final Date - The Final Date shall mean December 1, 2022, at which time
       the Class 1, 2 and Class 4 Claims shall be paid in full from a sale of the Ferry Point Road
       Property and the Mayfair Blvd. Property.

               Article II (Designation of Classes of Claims) and Article VI(C) (Manner of
               Payment of Clams and Treatment of Interests under the Plan) of the Plan,
               describing the treatment of the Holder of the Class 1 Claim, shall be modified
               as follows:

               Class 1: Allowed Secured Claim of Bank of New York Mellon Trust
               Company.

               This Class consists of the Allowed Secured Claim of Bank of New York Mellon
       Trust Company pursuant to a Note dated November 15, 1991, and secured by a Refinance
       Deed of Trust recorded against the real property located at 400 Ferry Point Road,
       Annapolis, Maryland 21403 in the original principal amount of $870,000.00. As of the
       Petition Date, the Bank of New York Mellon Trust Company asserts a secured claim in
       the amount of $442,900.53, including pre-petition arrears in the amount of $266,654.38.
       As of the Confirmation Date, the Debtor anticipates Bank of New York’s Allowed Class
       1 Secured Claim to be reduced (on account of post-petition payments) to approximately
       $334,000.00. The Note is governed by a fixed rate of interest in the amount of 4.5%,
       which shall remain unchanged. The Note matures by its terms on December 1, 2021. By
       the Debtor’s confirmed Plan, the Debtor shall make monthly adequate protection
       payments to the Bank of New York Mellon at the non-default rate of interest of 4.5%.



                                                 2
                     Case 19-11500    Doc 105     Filed 09/11/20     Page 3 of 5




        The Debtor’s monthly adequate protection payment (including escrow for property taxes
        and insurance) shall be $5,500.00 per month through and including December 1, 2022
        (the “Final Date”), at which time the balance, if any, of the Allowed Class 1 Secured
        Claim shall be paid in full. Notwithstanding anything to the contrary, under the Debtor’s
        Confirmed Plan, the Debtor shall list the 400 Ferry Point Road Property for sale with a
        reputable broker no later than March 1, 2021. On or before the Final Date, the Debtor
        shall pay the Class 1 Allowed Secured Claim of Bank of New York Mellon Trust
        Company in full. If Bank of New York’s Class 1 Allowed Secured Claim is not paid in
        full on or before the Final Date, the Class 1 Claimant may exercise its state court rights
        and remedies to foreclose on the Principal Residence without further order of the Court,
        or seek conversion of this case to Chapter 7. Bank of New York Mellon shall retain its
        lien on the Ferry Point Road Property.

        Class 1 is Impaired and is entitled to Accept or Reject the Plan.

and it is further;

        ORDERED, that the benefits of section 1146(a) of the Bankruptcy Code shall apply to

the fullest extent of the law with respect to the transfer of the real property and improvements

known as 400 Ferry Point Road, Annapolis, Maryland 21403 and/or 803 Mayfair Blvd., Toledo,

Ohio 43612; and it is further

        ORDERED, that on or before the Effective Date, the Debtor shall pay all fees payable

pursuant to 28 U.S.C. § 1930.



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                                                 3
                Case 19-11500       Doc 105   Filed 09/11/20   Page 4 of 5




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                                              4
               Case 19-11500       Doc 105   Filed 09/11/20   Page 5 of 5




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                                    END OF ORDER




                                             5
